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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 DOCTORS OXYGEN SERVICE, INC.
 d/b/a MEDGAS SOLUTIONS

         Plaintiff,
                                                            Case No. 1:15-CV-7467
 v.

 CANNON MANAGEMENT GROUP, LLC,

         Defendant.


                          ORDER FOR JUDGMENT BY DEFAULT

        Proof having been made to the Court that due service of the Summons and Complaint in

the above-entitled action has been had on September 10, 2015, as required by law and that said

Defendant, Cannon Management Group, LLC, is in default in that no issue of law or fact has

been joined in this action and the time for joining issue has expired:

        NOW, THEREFORE, the Court having considered all of the records, files, and

proceedings had herein and upon the motion of Lyons Law Group, LLC, attorneys for the

Plaintiff;

        IT IS HEREBY ORDERED that the Plaintiff, Doctors Oxygen Service, Inc., recover of

Defendant, Cannon Management Group, LLC, the sum of $105,080.00, plus costs in the amount

of $471.70, for a total judgment of $105,551.70 as itemized in the Affidavit of Laura E. Alms,

ECF Document No. 6-1.

        Let judgment be entered accordingly.

Dated this 1st day of December, 2015.

                                                      ___________________________
                                                      Andrea R. Wood
                                                      United States District Judge
